 

 

S Cee eee
Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 1 of 13

O_O

Gase 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page of 13

 

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA }
a }
ve eo } Uriminal No. BI f Erte
}
MICHAFL THOMAS JOYCE } (18 U.S.C, $42, 1341 and 1957°
Te Ty

WD T XT
The grand jugy charges:
INTRODVCTION

l. At all times material toa this Indictment, the
defendant, MICHAEL THOMAS JOYCE, a resident of Erie County,
Pennsylvania, was employed as a judge of the Superior Court of
Pennsylvania.

2. At all times material to this Indictment, the
defendant, MICHAE] THOMAS JOYCE, insured his automobile, a 2001

Morcedes-Ben«. E430, with Erie Insurance Group, located in Erie,

 

Pennsylvania.

3- On August 10, 2001, the deiendant, MICRAEL THOMAS
JOYCE, was involved in a low speed autemobile accident near the
intersection of West 12™ Street and Asbury Road in Millcreek
Township, Pennsylvania, Neither medical nor law enforcement
personnel were called to the scene.

4. The driver of the other vehicla involved in the
August 10, 2001 accident with the defendant, MICHAEL THOMAS JOYCE,

was insured with State Farm Insurance.

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 2 of 13
eee eee

Case 1:07-cr-00031-SJM Bocument3 Filed 08/15/2007 Page 2 of 13

5, On or about July 2, 2002, the defendant, MICHAEL
THOMAS JOYCE, advised State Farm T[usurance of his intention to
pursue a bodily injury insurance claim relative to the August 10,
2001 automobile accident.

6, On or about September 4, 2002, State Farm Insurance
paid the defendant, MICHAEL THOMAS JOYCR, $50,000 in settlement of
his insurance claim.

7. On or about August 20, 2002, the defendant, MICHAEL
THOMAS JOYCE, advised Brie Insurance Group of his intantion to
pursue an insuranee claim with Erle Insurance Gioup under the
underinsured motorist provision of his own Erie Insurance Group
dutemobile coverage, relative to the August 19, 2001 accident,

a. On or about September 29, 2002, the defendant,
MICHAEL THOMAS JOYCE, provided a document titled “Narrative
Statement of Damages” to Erie Insurance Group in support of his
insurance claim. The document indicated that the defendant,
MICIIAEL THOMAS JOYCE, was gééking damages for “(1}) past palin and
suffering, (2) Future pain and suffering, and (3) loss of enjoyment
of life.”

9, On or about November 26, 2002, Eric Insurance Group
paid the defendant, MICHAEL THOMAS JOYCE, $390,090 in settlement of
his underinsured motorist claim.

THE SCHEME AND AATIFICE
10, From in and areund Auguste 2001 and continuing

thereafter to in and around November 2002, in the Western District

 

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 3 of 13
a a
Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 3of 13

of Pennsylvania, the defendant, MICHAEL THOMAS JOYCE, devised and
intended to devise a scheme and artifice to defraud and for
obtaining money by means of false and fraudulent pretenses,
Yepresentations and promises, well knawing at the time that the
pretenses, representations and promises were false and fraudulent
When made.

11. It was a Bart of the scheme and artifice that the
defendant, MICHAEL THOMAS JOYCE, indicated in his Narrative
Statement of Damages that the damages he allegedly suffered had
affected his “professional and private life in a very significant
way,’

12. It was further a part of the scheme and artifice
that the Narrative Statément of Damages contained a variety of
different claims by the defendant, MICHASL THOMAS JOYCE, abgut the
alleged impact of the August 14, 2001 accident on his life,
including, but not limited to, the following:

a. For several months fellowing the Angust 10,
2O0U1l, accldent, he “experienced constant neck
and back pain, excruciating headaches, serious
discomfort and had difficulty sleeping.”:

b. In March 2007, hé was emperdencing a “high
State af anxiety due to a combinatior of not
getting all that much better dispite (sic) the
length of time following the collision;

dealing with a sherk term memocy loss; not

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 4 of 13
a aa

Case 71:07-cr-00031-SJM Document3 — Filed 08/15/2007 Page 4 of 13

having a final diagnosis Yegarding the
fasciculations; and nok being able to work
aut, Play golf or swim.”;

or The two months leading up to May 3, 2002, were
“the lengest two months in his life because he
believed that he may, in fact, have had Lou
Gehrig's disease or some other sericus
neurelogic disease which was life
threatening. %;

d. Through May, June and July 2002, his pain
increased ta the peint that he eould not
complate a round of goli;

e, He attempted to play golf five times since the
beginning of Che 2002 seascen but was unable to
complete a game;

f. He had limited ceryleal range of motion and,
at times, could not hold a coffee cup steady
in his right hand;

g. He waS physically unable to golf, and coryld
net swim ef 40g;

h. In the several months leading up te September
2002, he had an inability to keep focused and
had problems concentrating;

i. Since the August 10, 2001, ac¢ident he had not

engaged in scuba diving ar taught scuba diving

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 5 of 13

———————oEoEoEEeEeEeEeEeEE—E3z5~y~<—y>EeEeEEEEEEEESEEEEEE=>E=EEEEEEEE——

Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 5 of 13

and did not crénew his stuba teaching
certification for 2002;

i. In 2001 he received the Republican nomination
for the Supreme fourt of Pannsylvania vacancy
ereated by the retirement of Chief Justice

John Flahérty;

k. He withdrew from the judicial race for Justice

Flaherty’ s vacant seat shortly after gaining

the nomination with the understanding that he

would run again in 2003 when the next expected
Supreme Court of Pennsylvania vacancy would
eccur;

L. The impact of the August 2001 accident forced
him to forgo his desire to run for a vacant
Seat on the Pennsylvania Supreme Courk in 2003
because there was “no way he could cope with
the physical and omental demand of a
campaign.”;

m. As a result of the accident he had to
“eliminate most physical activity frem his
daily routine.”; and

n. The injuries he suffered as a result of the
Auguse 20012 accident continued to have a
significant effect on avery facet of his

professional and private life.

 
 

 

ee
Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 6 of 13

 

Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 6 of 13

13. It was further a part of the scheme and artifice
that the defendant, MICHAEL THOMAS JoOYcr, falsely claimed tu Erie
Tnsurance Group and/or State Farm Insurance that the August 2001
accident rendered him unable to golf at ail or unable to complete
a full cighteen hele round, and failed to disclose during the
pendency of his insurance claims, the following:

a. From May 2002 to July 2002, he submitled nine full

round, elghteen hole, golf scorns ta the Wester d
Pennsylvania Golf Association, in order to maintain
his golf handicap;

b. He had completed at least two full sighteen hole
rounds of golt in Runaway Bay, Jamaica in January
2002;

Cc. He had completed at least twe Full eiqhteen hole
rounds of golf in the Tampa, Florida area, in and
around March 2002, ineluding ak least one full
eighteen hole round at Old Memorial Country Club;

d. He had completed multiple full eighteen hole rounds
of golf at Lakeshore Country Club in Fairview,
Pennsylvania fram May 2002 Co July 2092, separate
and apart from those rounds of golf fer which he
reperted his scores to che Western Pennsylvania

Golf Association; and

 
 

ee
Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 7 of 13
Lee Te ee eee ee ee eee eee eee eee ener eee eee eee eee eee ee eee ee eee

Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 7 of 13

 

e, He hed completed a full eighteen hole round ef goltr
at Peek’n Peak Resort in Findley Lake, New York, on
or about May 5, 2002.

14, It was further a part of the scheme and artifice
that che defendant, MICHAEL THOMAS JOYCE, Calsely claimed to Erie
Insurance Group and/or State Farm Insurance that the August 2001
aceident rendered him unable to scuba Give, and failed to disclose
during the pendency of his insurance claims that he engaged in
scuba diving in Runaway Bay, Jamaica in January 2002.

15. Ie was further a part of the scheme and artifice

that the defendant, MICHAEL THOMAS JOYCE, falsely claimed te Erie

 

Insurance Group and/or State Farm Insurance that he did not renew
his scuba diving teaching certification for 2002, and failed to
disclose during the pendency of his insurance claims that, in and
around December 2001, he did, in fact, via the payment of $144,
procure the 2002 renewal of hig Instructor Membership with the
Prefessional Association of Diving Instructors [PADI).

16. Tc was Further a part of the scheme and artifice
that the defendant, MICHAEL THOMAS JOYCE, falsely claimed to #HErie
Tngurance Group and/or State Farm Insurance that he was either
unable to exercise of his «xércise activitics had been
significantly curtailed, and failed to disclose during the pendency

of his insurance claims that he had ecngeged in roller blading on

multiple cecasions during 2002; and that he exercised at Nautilus

 

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 8 of 13
eee eee eee eee eee ee ee eee ee eee
Case 1:07-cr-00031-SJM Document3 Filed G8/15/2007 Page 8 of 13

Fitness and Racquet Cluf in Millcreek Township, Pennsylvania, on
numerous oceagions from October 2001 ta Nevember 2002,

17. It was further a part of the scheme and artifice to
defraud that the defendant, MICHAEL THOMAS JOYCE, in support of his
insurance claims to Erie Insurance Group and/or State Farm
Insurance, Calsely claimed that he had received the Republican
endorsement and nemination in the 2001 election For 4 seat on the
Pennsylvania Supremé Court in 2002, when in fact he had received no
such endorsement or nomination.

16. It was further @ part of the scheme and artifice to
defraud that the defendant, MICHAEL ‘THOMAS JOYCE, failed te
disclose to Erie Insurance Group and/or Skate Farm Insurance that,

on April 6, 2002, he submitted ta the Federal Aviation

 

| Administration (FAA) an Application fer Pilot Medical Certificate
(form number 6500-8), wherein he indicated that he had no injuries,
physical problems of physicul limitations; and had undergone and
successfully passed the physical examination required by the
Federal Aviation Administration (PAA) pricvr to the issuance af a
erivaté pilot’s license.

19. It was further a part of the scheme and artitice to
defraud, that the defendant, MICHAEL THOMAS JoYch, failed to
disciose to Erie Insyrance Group and/or State Farm Insurance, that
from April 2002 tea Gctober 2002, he had piloted an airplane on

approximately fifty oceagions,

 
 

 

 

Neen eee ee
Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 9 of 13

Case 1:07-er-00031-SJM Document3 Filed 08/15/2007 PageQof 13

THE MAILINGS

40, The allegations contained in paragraphs 1 through 19
above are realleged and incorporated by reference as if fully sec
forth herein.

al. Qn or about the dates specified below, in the
Western District of Pennsylvania, tne defendant, MICHAEL THOMAS
JOoYcE, for the purpose of executing the aloresaid scheme and
artifice to defraud, and in attempting to do so, did knowingly
cause to be delivered by the United States Mail, the mail Matter
moré particularly set forth below, each such use of the United

States mai? being a separate count of this Indictment:

a ———— a —
Count | Date (on Sender Addressee Mail matter |
or about)

 

 

 

  
 

 

 

—_ a <a
B/20/Ge Michael T. Joyce Attorney Ted G. Miller nota with
3250 West Dake Road Erie Insurance Group enclosure

Erie, PA 16505 P.O. Dox 1699

Erie, Pennsylvania 16530 |

 

two G/L foe Michael T. Joyce Ronald G. Habursky letter wlkh
3250 West Lake Read Litigation Gpecialiat medical
Bric, FPA Lé505 Erie Insurance Croup apacials

100 Erie Insurance Place summary
Brie, Pesdusylvania 16590 enclosure

 

 

tTonree 11/15/02 Michael T. Joyos Aonald G. Habursky lettur
3250 Wesk Lake Road Litigation Souvialist
Erie, PA 165045 Erie Insurance Group

 

 

 

 

 

 

{00 Eria Tnstrance Place
Erie, Pennsylvania 16530 |

All in viclation of Title 18, United States Cede, Séctions

 

1341 and 2.

 
 

 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 10 of 13

Case 1:07-cr-00031-SJM  Decument3 Filed 08/15/2007 Page 10 of 13

COUNTS THROUGH NINE

The grand jury further chergés:

22. Paragraphs 1 through 21 of this Indickment are
realleged and in¢orvurated herein as if fully set forth.

23. Qn or about the dates specittied haloaw, in the Western
District of Pennsylvania, and elsewhere, the defendant, MICHAEL
VROMAS JOYCE, dig knowingly engage and attempik to engage in the
following monetary Lransactions, affecting interstate commerce, in
criminally cecrived property with a value greater than £10,000, which
property was derived from apecified unlawful activity, in Lhat -he
defendant, MTCHARL THOMAS JOYCE, engaged in the Following
btransaclions, knewing that the funds were derived From a criminal
offense, wher in feew said funds were derived from mail Lraud, each

such Lransachion constituting a separate Count of this Indictment:

 

count DATE MONETARY TRANSACTION
{on or ahout)

 

Four L1l/27/02 $300,000 initial deposit into u
T? Ameritrade individual
bhresersye account

 

 

Five 11/27/02 $18,058.02 payment to this line
ef credit account at Nalional
city Bank

Six 2/14/03 $20,000 deposit Lo Sue Sublo

Realtors fur the purchase of
Properly located in Miilcreek
Township, Pennsylvania

 

Seven 3/10/05 S.0,770-75 payment to Liberty
Harley Davidson, 32 Bast
Cuyahoga Falls Boulevard, Akron,
Qhio, for the purchase of a
moworcycle

 

 

 

 

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 11 of 13

 

Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 17 of 13

— a
COUNT DATE MONETARY TRANSACTION
fon ex about)
ee:

q —— EE —
Bight 3/19/03 $94,537.74 down payment to
; Select Settlement Ine. tor the
purchase of property located in
Millcreek Township, Pennsylvania

 

 

 

 

 

Nine 4/5/04 $27,500 down payment te Dunkirk
Aviation, 3489 Middle Road,
Dunkirk, New York, toward the
purchase of a 1976 Cessna 206

aicplane
— a

 

 

 

 

 

 

 

All in violation of Title 14, United States Code, Sections

19257 and 2.

 
 

 

Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 12 of 13

|
Case 1:07-cr-00031-SJM Document3 Filed 08/15/2007 Page 12 0f 13

FORFEIT ALLEGATIONS

1. The Grand Jury srealleges and incorporates by
ceference the allegations contained in Counts One through Nine of
this Indiecment for the purpose of alleging criminal forfeitures.

2. As a result of the cemmission of the yiclations
charged in Counts One (through Three of this Indictment, the
defendant, MICHREL THOMAS JOYCE. did acquire proceeds, including
bank account Dalangces, tnat are subject to forfeiture pursuant to
Title 28, United States Code, Saction 246lic).

3. AS a result of the commission of the violations
charged in Counts Four thraugh Nine of tkis Indictment, the
defendant, MICHAEL THOMAS JOYCE, did acquire tha following property
that was involved in such violations, or is traceable to property
invelved in such yiolations, thereby Subjecting said property to
forfeiture to the United States of America pursuant to Title 18,
United States Code, Section 9B2Z(a)(1}: (a) United States currency,
cash equivalents, and bank account halances; (b) real property
including, without limitation,

and {c) a 2003 Harley Davidson VIN
LHD1BdIY423yY068400.

4. If through amy aét or omission by the defendant,
MICHAEL THOMAS JOYCE, any or all of the property described in
paragraphs 2 and 3 above thereinafter the "Subject Properties"):

a. Cannot be located upon the ewercise of due

diligerce;

 
ee
Case 1:07-cr-00031-MBC Document 3-1 Filed 08/15/07 Page 13 of 13

 

ase T:0/-cr-00031-SJM Document3 Filed 08/15/2007 Page 13 0f 13

®. Has bewn transferred, sold to, or deposited with

a third person;

c. Has been placed beyond the jurisdiction of the
Court;

d. fas been substantially diminished in value: or

e, Has been commingled with other property which

 

cannot be gubdlyided without difficulty, tha United States intends
to seek forfeiture of any other property of the defendant up te the
value of the Subject Properties forfeitabla above pursuant to Title

19, United States Code, Section 98? (b) (1)-

A True Bill

 
   

ETH BUCHANAN
niited Scates Attorney

PA ID No, 50254

 

 
